               Case 23-11469-BLS   Doc 312-2   Filed 10/30/23   Page 1 of 7




                                      Exhibit B




DOCS_DE:245594.1
               Case 23-11469-BLS              Doc 312-2       Filed 10/30/23        Page 2 of 7




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                     )
In re:                                                               )   Chapter 11
                                                                     )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                           )   Case No. 23-11469 (BLS)
                                                                     )
                                   Debtors.                          )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No. 63___

FOURTH OMNIBUS ORDER (I) AUTHORIZING (A) THE REJECTION OF CERTAIN
   UNEXPIRED LEASES, AND (II) ABANDONMENT OF CERTAIN PERSONAL
          PROPERTY EFFECTIVE AS OF THE PETITION DATE,
                AND (III) GRANTING RELATED RELIEF

         Upon the fourth omnibus motion (the “Motion”)2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) for entry of an order (this “Order”) pursuant to

sections 105(a), 365(a), and 554(a) of title 11 of the United States Code (the “Bankruptcy Code”)

and Federal Rule of Bankruptcy Procedure 6006 (the “Bankruptcy Rules”): (a) authorizing the

rejection of (i) certain unexpired leases, including any guaranties thereof and any amendments,

modifications, or subleases thereto (each, a “Lease,” and collectively, the “Leases”) for

nonresidential real property located at the corresponding premises set forth on Schedule 1 (the

“Premises”) attached hereto; (b) authorizing the abandonment of certain personal property (the

“Personal Property”) that may be located at the Premises, effective as of the Petition Date; and

(c) granting related relief, all as more fully set forth in the Motion; and upon the First Day



1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of American
Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
5121 Maryland Way Suite 300 Brentwood, TN 37027.
.
2
 Capitalized terms used in this Order but not immediately defined have the meanings given to such terms in the
Motion.



DOCS_DE:244798.5 03370/001244798.6 03370/001
              Case 23-11469-BLS           Doc 312-2   Filed 10/30/23     Page 3 of 7




Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      The Motion is granted as set forth herein.

        2.      Each of the Leases set forth on Schedule 1 attached hereto is rejected effective as

of the Petition Date.

        3.      Any Personal Property that may be located on the Premises is hereby abandoned,

with such abandonment being effective as of the Petition Date, free and clear of all liens, claims,

encumbrances, interests, and rights of third parties. Counterparties to the Leases may dispose of

such Personal Property in their sole and absolute discretion and without further notice or order of

this Court without liability to third parties so long as the Premises have been vacated by the

Debtors. The automatic stay, to the extent applicable, is modified to allow for such disposition.




DOCS_DE:244798.5 03370/001244798.6 03370/001
              Case 23-11469-BLS           Doc 312-2    Filed 10/30/23     Page 4 of 7




        4.      Any claims arising out ofproofs of claim for damages in connection with the

rejection of the Leases must, if any, shall be filed on or before any deadlinethe later of (a) the

claims bar date established by the Court for filing proofs of claims in these chapter 11 cases for

rejection damages, if any, and (b) thirty (30) days after entry of this Order. The Debtors reserve

all rights to contest any rejection damages claim and to contest the characterization of each Lease

as executory. If the Debtors have deposited monies with a counterparty to a Lease as a security

deposit or other arrangement, such counterparty may not setoff or recoup or otherwise use such

deposit without the prior authority of the Court.

        5.      The Debtors do not waive any claims that they may have against the counterparty

to any Lease, whether or not such claims are related to such Lease.

        6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

party-in-interest’s right to dispute any particular claim on any grounds; (c) a promise or

requirement to pay any particular claim; (d) an implication or admission that any particular claim

is of a type specified or defined in this Order or the Motion; (e) a request or authorization to

assume any agreement, contract, lease, or sublease pursuant to section 365 of the Bankruptcy

Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights under the

Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any other

party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Order are valid and the Debtors and all other parties-in-interest expressly

reserve their rights to contest the extent, validity, or perfection or to seek avoidance of all such

liens. Any payment made pursuant to this Order should not be construed as an admission as to




DOCS_DE:244798.5 03370/001244798.6 03370/001
              Case 23-11469-BLS           Doc 312-2    Filed 10/30/23     Page 5 of 7




the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any other

party-in-interest’s rights to subsequently dispute such claim.

        7.      Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.

        8.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




DOCS_DE:244798.5 03370/001244798.6 03370/001
              Case 23-11469-BLS           Doc 312-2       Filed 10/30/23   Page 6 of 7


                                               SCHEDULE 1

                                                 Leases




DOCS_DE:244798.5 03370/001244798.6 03370/001
        Case 23-11469-BLS     Doc 312-2   Filed 10/30/23   Page 7 of 7




Document comparison by Workshare Compare on Monday, October 30, 2023
6:05:15 PM
Input:
Document 1 ID       PowerDocs://DOCS_DE/244798/5
                    DOCS_DE-#244798-v5-APP_-_Fourth_Omnibus_Rejectio
Description
                    n_Motion_(Real_Property_Leases)
Document 2 ID       PowerDocs://DOCS_DE/244798/6
                    DOCS_DE-#244798-v6-APP_-_Fourth_Omnibus_Rejectio
Description
                    n_Motion_(Real_Property_Leases)
Rendering set       Standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                                     Count
Insertions                             11
Deletions                              10
Moved from                              0
Moved to                                0
Style changes                           0
Format changes                          0
Total changes                          21
